
PER CURIAM:
This claim was submitted for decision based upon the allegations in the Notice of Claim and respondent’s Answer.
Claimant seeks $154,947.08 for medical care and services provided to inmates of the West Virginia Penitentiary. The respondent, in its Answer, admits the validity of the claim but states that there were no funds available in its appropriation for the fiscal year in question from which the obligation could have been paid.
While the Court feels that this claim is one which in equity and good conscience should be paid, the Court is further of the opinion that an award cannot be made, based upon the decision in Airkem Sales and Service, et al. v. Department of Mental Health, 8 Ct.Cl. 180 (1971).
Claim disallowed.
